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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

                                                     )
GENE B. CUMMINS,                                     )    Case No. ___________
                                                     )
                 Plaintiff,
                                                     )
        vs.                                          )
                                                     )     NOTICE OF REMOVAL
J.B. HUNT TRANSPORT, INC.,                           )
                                                     )
                 Defendant.                          )
                                                     )

        Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendant J.B. Hunt Transport,

Inc., (“J.B. Hunt”) removes to this Court the state court action described below:

                                          THE REMOVED CASE

        1.       Plaintiff Gene B. Cummins (“Cummins”) filed an action in the Iowa District

Court for Polk County styled Gene B. Cummins v. J.B. Hunt Transport Services, Inc., Case No.

05771 LACL130488, on June 11, 2014. Plaintiff subsequently filed a Motion for Leave to File

Second Amended Petition on August 22, 2014 styled Gene B. Cummins v. J.B. Hunt Transport,

Inc., Case No. 05771 LACL130488. The Iowa District Court for Polk County granted Plaintiff’s

Motion, and deemed the Second Amended Petition at Law and Jury Demand (“the State Court

Action”) filed on September 4, 2014.

        2.       Defendant J.B. Hunt was served with the State Court Action on or about

September 16, 2014. 1 No further proceedings have been had in the instant action.




1
 Plaintiff attempted service on the entity “J.B. Hunt Transport Services, Inc.” on August 14, 2014 and September 8,
2014, and subsequently filed Affidavits of Service reflecting this in the Iowa District Court for Polk County. (See
Exhibit C, Affidavits of Service). However, this entity does not have a registered service agent in Iowa. Plaintiff
did not serve Defendant J.B. Hunt Transport, Inc. until September 16, 2014.
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          3.   Plaintiff’s claims against Defendant in the State Court Action consist of alleged

violations of the Americans with Disabilities Act, the Civil Rights Act of 1964 and the Iowa

Civil Rights Act.

                             PAPERS FROM REMOVED ACTION

          4.   Copies of all process, pleadings and orders served upon J.B. Hunt in said action

are attached hereto as Exhibit A, as required by 28 U.S.C. §1446(a).

                                     REMOVAL IS TIMELY

          5.   J.B. Hunt is filing this Notice of Removal within thirty (30) days after receipt of

the State Court Action. Thus, under 28 U.S.C. § 1446(b), J.B. Hunt’s Notice of Removal is

timely.

                               VENUE REQUIREMENT IS MET

          6.   Venue is proper under 28 U.S.C. § 1441(a) because this Court is the United States

District Court for the district corresponding to the place where the State Court Action was

pending. J.B. Hunt hereby designates Des Moines, Iowa as the place for trial.

                        FEDERAL QUESTION JURISDICTION IS MET

          7.   This is a civil action that falls under the Court’s original jurisdiction under 28

U.S.C. § 1331 (federal question) and is one that may be removed to this Court based on a federal

question under 28 U.S.C. §§ 1441 and 1446.

          8.   A state law claim can be removed to federal court if a federal question exists.

Tiengkham v. Elec. Data Sys. Corp., 551 F. Supp. 2d 861, 869 (S.D. Iowa 2008). “Federal

question jurisdiction requires that the action arise under the Constitution, laws, or treaties of the

United States.” Id. “Removal of a state law claim is appropriate in those cases in which a well-

pleaded complaint establishes either that federal law creates the cause of action or that the



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plaintiff's right to relief necessarily depends on resolution of a substantial question of federal

law.” Id. (emphasis in original).

       9.      Plaintiff has raised claims for relief under the Americans with Disabilities Act and

the Civil Rights Act of 1964. (See Ex. A, Plaintiff’s Second Amended Petition at Law and Jury

Demand).

       10.     Therefore, because Plaintiff has claimed the alleged adverse actions of Defendant

includes, among other things, discrimination in violation of Plaintiff’s rights under the

Americans with Disabilities Act and the Civil Rights Act of 1964, the Court will have to resolve

a substantial question of federal law.

       11.     Further, the additional claims made in the State Court Action, to wit, disability

discrimination in violation of the Iowa Civil Rights Act, fall under this Court’s supplemental

jurisdiction as they are so related to Plaintiff’s alleged federal discrimination claims that they

“form part of the same case or controversy under Article III of the United States Constitution.”

28 U.S.C. § 1367(a).

                    DIVERSITY OF CITIZENSHIP JURISDICTION IS MET

       12.     This is a civil action subject to the Court’s original jurisdiction pursuant to 28

U.S.C. § 1332 (diversity of citizenship) and is one that may be removed to this Court based on

diversity of citizenship pursuant to 28 U.S.C. §§ 1441 and 1446.

       13.     Diversity of citizenship is present if “the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between . . . citizens of different states.”

28 U.S.C. § 1332(a)(1).

       14.     The matter is between citizens of different states.

       15.     Plaintiff is a citizen of the State of Iowa. (See Ex. A, Paragraph 1).



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        16.     For purposes of removal of a state court action on the basis of diversity of

citizenship, “a corporation shall be deemed to be a citizen of every State and foreign state by

which it has been incorporated and of the State or foreign state where it has its principal place of

business.” 28 U.S.C. § 1332(c)(1).

        17.     J.B. Hunt is incorporated in the state of Georgia and has its principal place of

business in the state of Arkansas; therefore, J.B. Hunt is not a citizen of the state of Iowa for

purposes of 28 U.S.C. §§ 1332 and 1441.

        18.     The standard for determining whether a plaintiff’s claim meets the amount in

controversy is whether the district court finds, by a preponderance of the evidence, that

plaintiff’s damages are greater than $75,000. 28 U.S.C. § 1446 (c)(2)(B).

        19.     Courts generally may consider actual damages, compensatory damages, punitive

damages, emotional distress damages, and attorney fees in determining whether the amount in

controversy exceeds $75,000. See Allison v. Sec. Ben. Life Co., 980 F.2d 1213, 1215 (8th Cir.

1992); Capital Indem. Corp. v. Miles, 978 F.2d 437, 438 (8th Cir.1992); Wiemers v. Good

Samaritan Society, 212 F. Supp.2d 1042, 1048 (N.D. Iowa 2002); see also 28 U.S.C. § 1446

(c)(2)(A)(i).

        20.     The State Court Action seeks “judgment against Defendant in an amount

sufficient to fully and fairly compensate him for his injuries, including all relief available under

the American [sic] with Disabilities Act, the Civil Rights Act of 1964, and the Iowa Civil Rights

Act, together with attorney fees, expenses, the costs of this action, and interest thereon as

provided by law.” (emphasis added).

        21.     Although Plaintiff’s Petition does not allege a specific amount of damages sought,

Defendant believes in good faith that (without any admission as to the merits of those



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allegations) Plaintiff’s alleged damages for “all relief available under the American [sic] with

Disabilities Act, the Civil Rights Act of 1964, and the Iowa Civil Rights Act, together with

attorney fees, expenses, the costs of this action, and interest thereon as provided by law” exceeds

the jurisdictional amount of $75,000 set forth in 28 U.S.C. § 1332(a) based upon the allegations

in his Petition and the potential that Plaintiff would be awarded attorney fees if successful at

trial.

         22.   Thus, Plaintiff’s Petition seeks more than $75,000, which satisfies the amount in

controversy requirement set forth in 28 U.S.C. § 1332(a).

         23.   Therefore, because the amount in controversy exceeds the value of $75,000, and

the matter is between citizens of different states, diversity of citizenship jurisdiction exists

pursuant to 28 U.S.C. § 1332(a).

                                     REMOVAL IS PROPER

         24.   The state court action may be removed to this Court by J.B. Hunt in accordance

with the provisions of 28 U.S.C. §§ 1441(c) and 1446(b) because: (i) this action is a civil action

pending within the jurisdiction of the United States District Court for the Southern District of

Iowa; (ii) this action could have been brought in this jurisdiction; and (iii) the amount in

controversy exceeds the value or sum of $75,000, exclusive of interest and costs; and (iv) the

matter in controversy is between citizens of different states.

                                FILING OF REMOVAL PAPERS

         25.   Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action has

been given simultaneously to Plaintiff’s counsel, and a Notice of Filing of Removal has been

simultaneously filed with the Iowa District Court for Polk County.




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       26.     The information required by Local Rule 81(a) of this Court is attached as Exhibit

B.

       27.     Pursuant to Local Rule 81(a)(1) of this Court, copies of all process, pleadings, and

orders filed in the state case are attached as Exhibit C.

                                          CONCLUSION

       WHEREFORE, Defendant J.B. Hunt Transport, Inc. hereby notifies this Court, Plaintiff,

and the Iowa District Court for Polk County that the above-captioned matter, now pending

against it in the Iowa District Court for Polk County, has been removed to this Court.




                                               Respectfully submitted,




                                               Sara R. Laughlin AT0009400
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                                               ATTORNEY FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 7, 2014, a true and correct copy of the
foregoing document was electronically filed with the Clerk of the Court using the CM/ECF
system, which will send notification of such filing to all attorneys of record:

Harley C. Erbe, PK002430
ERBE LAW FIRM
2501 Grand Avenue
Des Moines, Iowa 50312
ATTORNEY FOR PLAINTIFF


                                           By:     /s/ Lynda D. Shoemaker
                                                   Lynda Shoemaker
                                                   Legal Assistant to Sara R. Laughlin




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